384 F.2d 487
    SAN MANUEL COPPER CORPORATION, a Delaware Corporation, and Magma Copper Company, a Maine corporation, Appellants,v.BRIAN JACKSON ASSOCIATES, INC., an Arizona corporation, and Melvin S. Buros, Appellees.
    No. 21398.
    United States Court of Appeals Ninth Circuit.
    October 30, 1967.
    
      Twitty, Sievwright &amp; Mills, Phoenix, Ariz., Pennie, Edmonds, Morton, Taylor &amp; Adams, Willis H. Taylor, Jr., New York City, for appellants.
      William H. Drummond, Drummond &amp; Cahill, Phoenix, Ariz., for appellees.
      Before HAMLIN, KOELSH and BROWNING, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is an appeal from a judgment of the United States District Court for the District of Arizona in a patent infringement case. The district court found the patent valid and infringed. The district court had jurisdiction under 28 U.S.C. § 1338, 28 U.S.C. § 1400, and 35 U.S.C. §§ 271, 282-85. This court has jurisdiction under 28 U.S.C. §§ 1292-94.
    
    
      2
      The district court rendered a memorandum decision which included his findings of fact and conclusions of law, all of which was published under the name of Brian Jackson Associates v. San Manuel Copper Corporation, 259 F.Supp. 793.
    
    
      3
      An examination of the voluminous record establishes that the findings of fact are supported by substantial evidence. The district court has properly applied the correct standards of law to these facts. Since no useful purpose would be served by the writing of another long opinion, we adopt the decision of the district court which is set out in 259 F.Supp. at 811 with the minor change set out in the margin.1
    
    
      4
      Judgment affirmed.
    
    
      
        Notes:
      
      
        1
         There is added to the sentence appearing on page 812 of said decision, which sentence now reads "Eugene Redmond, the inventor of the process described by this patent, discovered a method of producing copper of a higher purity than had been previously produced in a converter," the following words: "on a practical commercial basis."
        The detailed findings of the court, particularly Finding 26, indicate that the above addition serves to set out more clearly the meaning of the court.
      
    
    